                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

 BRIAN DAVID HILL,                             )
                                               )                                       NOV 30 2017
                Plaintiff,                     )       Case No. 4:17-cv-00027
                                               )
 v.                                            )       ORDER
                                               )
 EXECUTIVE OFFICE FOR UNITED                   )       By: Hon. Jackson L. Kiser
 STATES ATTORNEYS, et al.,                     )           Senior United States District Judge
                                               )
                Defendants.                    )


        Plaintiff has requested an extension of time to file his witness and exhibit lists. (See Pl.’s

 First Status Report ¶ 3 [ECF No. 44], and Defendants have asked for a similar extension if I

 grant Plaintiff one. As Plaintiff has filed a Notice of Interlocutory Appeal [ECF No. 33], no

 action will be taken in this case until the Fourth Circuit’s mandate is issued on Plaintiff’s appeal.

 (See Notice of Stay of Mandate [ECF No. 43].

        The clerk is directed to forward a copy of this Order to Plaintiff and all counsel of record.

        Entered this 30th day of November, 2017.



                                               s/Jackson L. Kiser
                                               SENIOR UNITED STATES DISTRICT JUDGE




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